Case 1:03-cr-00354-KMW   Document 592   Filed 11/18/15   Page 1 of 4 PageID: 2531



                   THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

                                             HON. JEROME B. SIMANDLE
 UNITED STATES OF AMERICA
                                             Cr. No. 03-354-01 (JBS)
              v.
                                                       ORDER
 WILLIAM OSCAR HARRIS, a/k/a                   REGARDING PURGING OF
 Oscaro El Hari Bey,                              CIVIL CONTEMPT
              Defendant.



      This matter comes before the Court upon Mr. Harris' pro se

 filing on November 16, 2015 of a "Notice of Purgation of Civil

 Affirmation and Verification 28 U.S.C. § 1746(1) as to William

 Oscar Harris," [Docket Item 588] which appears to be in

 compliance with the requirement for Mr. Harris to purge his civil

 contempt pursuant to this Court's Order of April 22, 2004.

      On October 22, 2004, Mr. Harris was sentenced to 188 months

 of incarceration, five years of supervised release, a fine of

 $17,500.00, and restitution of $91,977.00 [Docket Item 380].               The

 Judgment provided that Harris' period of incarceration was to

 commence after he purged himself of the Order of Civil Contempt.

 The Court of Appeals affirmed the Judgment on direct appeal,

 United States v. Harris, 271 F. App'x 188 (3d Cir. 2008).

 Similarly, the Court of Appeals affirmed this Court's Order of

 Civil Contempt and its requirement for the method of Mr. Harris

 to purge himself of the contempt, namely by refraining from the

 offending activity and declaring under penalty of perjury that he
Case 1:03-cr-00354-KMW   Document 592       Filed 11/18/15   Page 2 of 4 PageID: 2532



 would desist from resuming the offending activity.                United States

 v. Harris, 582 F.3d 512, 514 (3d Cir. 2009).

      In the present application, Mr. Harris apparently seeks to

 purge himself of the contempt retroactively to April 27, 2004.

 He has utilized that date with the indication "nunc pro tunc"

 throughout his November 16, 2015 submission.                The actual date Mr.

 Harris signed these documents purporting to purge his contempt is

 unknown.   From the circumstances, and from the envelope that was

 received from his present place of confinement in Indiana in

 which these documents were contained on November 16, 2015, it

 would appear that he executed the document within the usual

 period for such mailings from federal prison, typically about

 seven days before the date it is receive in our Clerk's office.

 The date of purging contempt is important, of course, because

 that is the date on which the sentencing judgment provides that

 his period of criminal incarceration will begin.

      To date, Mr. Harris has been confined under the civil

 contempt order awaiting his compliance             without receiving credit

 against his criminal sentence for the time he is confined in

 civil contempt, as provided by law.

      The issue to be determined, therefore, is the date upon

 which Mr. Harris' purging of his civil contempt is deemed

 effective, so that he may begin serving his criminal sentence.

      The Court, therefore, is considering several options and

 would welcome the parties' views:

                                        2
Case 1:03-cr-00354-KMW   Document 592       Filed 11/18/15   Page 3 of 4 PageID: 2533



      1.    That this purging of civil contempt be deemed effective
            on November 9, 2015, or such date as Mr. Harris can
            establish that his Affirmation Purging Civil Complaint
            was signed and placed in the prison mail system; or

      2.    On a date prior to 2015 and after September 23, 2009,
            if it can be determined that Mr. Harris' offending
            activity had stopped as of such date, demonstrating
            coercive civil contempt remedy was no longer necessary
            to effectuate this Court's orders.

      A Court's power to enforce a civil contempt order does not

 necessarily end when the underlying proceeding is final and

 appeals therefrom are complete.        United States v. Harris, 582

 F.3d at 515.   The Third Circuit further held that the termination

 of Mr. Harris' underlying criminal proceeding did not render the

 order of civil contempt moot.      Id. at 516.          The Third Circuit

 held that the underlying contempt order, on the merits, "is

 unquestionably valid and eminently appropriate," and that Harris

 was able to comply with the Order at any time but did not.                  Id.

 The Third Circuit also interpreted the existing contempt order as

 requiring "a period of inaction" [emphasis in original] as being

 "all that is needed to lift the contempt."              Id. at 519.     Since

 there was no "period of inaction" as of 2009 when the Third

 Circuit reviewed this case, the question arises whether Harris

 became "inactive" by discontinuation of the offending conduct at

 some point in time before he finally signed his Affirmation

 Purging Civil Contempt.

      The parties are requested to address these issues before I

 determine the effective date of Mr. Harris' purging of contempt.


                                        3
Case 1:03-cr-00354-KMW   Document 592       Filed 11/18/15   Page 4 of 4 PageID: 2534



 The effective date of purging contempt will be no earlier than

 September 23, 2009 (the date of filing the Third Circuit's

 Opinion in United States v. Harris, 582 F.3d 512) and no later

 than November 16, 2015 (the date Mr. Harris' filing was received

 by the Clerk of Court).1

      WHEREFORE, IT IS, this       18th       day of November, 2015, hereby

      ORDERED that the parties shall address the above issues, in

 writing, by briefs and accompanying factual certifications if

 necessary, filed not later than December 16, 2015, unless

 extended for good cause shown; a reply by each party will be

 permitted within fourteen (14) days after receipt filing of the

 above submissions2; and it is further

      ORDERED that the Clerk of Court shall provide a copy of this

 Order to Mr. Harris by regular mail, since his filing was pro se;

 and it is further

      ORDERED that any further submissions on behalf of Mr. Harris

 may come only through his attorney, Mr. Borden.



                                    s/ Jerome B. Simandle
                                   JEROME B. SIMANDLE
                                   Chief U.S. District Judge


      1
        The present Order does not affect Mr. Harris' pending
 reconsideration motion [Docket Item 582], by which Mr. Harris
 sought reconsideration of the Court's Opinion and Order of
 January 13, 2015 [Docket Items 580 & 581], which is being
 addressed separately.
      2
        The Court will also request the parties' views of whether
 a material factual dispute necessitates an evidentiary hearing.

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